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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

SERVICIOS FUNERARIOS GG, S.A. DE
C.V.,

                       Plaintiff,

v.

ADVENT INTERNATIONAL
CORPORATION,

                       Defendant,

                       and                            Civil Action No. 23-cv-10684-IT

ADVENT INTERNATIONAL                                  Referral: Hon. Jennifer C. Boal
CORPORATION,

                       Counterclaim-Plaintiff,

v.

SERVICIOS FUNERARIOS GG, S.A. DE
C.V.,

                       Counterclaim-
                       Defendant.


      ASSENTED TO MOTION FOR LEAVE TO FILE SURREPLY IN FURTHER
        OPPOSITION TO SERVICIOS FUNERARIOS’ MOTION TO COMPEL
     PRODUCTION OF DOCUMENTS AND RESPONSE TO INTERROGATORIES

       Pursuant to Local Rule 7.1(b)(3), Defendant and Counterclaim-Plaintiff Advent

International Corporation n/k/a Advent International, L.P. (“AIC”) respectfully seeks leave to file

a surreply in further opposition to Plaintiff Servicios Funerarios GG, S.A. de C.V.’s (“SF”) Motion

to Compel Advent International Corporation to (1) Produce Documents and (2) Respond To

Interrogatories (Dkt. 172). AIC has conferred with SF before filing this motion. SF does not

object to AIC’s filing a surreply and AIC, in turn, would not object to SF’s filing a response.



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       On October 31, 2023, SF filed its Motion to Compel AIC to Produce Documents and

Respond to Interrogatories (Dkt. 172). A principal component of SF’s motion was its demand that

AIC provide additional information in response to SF’s Interrogatory No. 11, which asks AIC to

“[i]dentify each instance where Servicios Funerarios used illegal, improper, or illegitimate means

or conduct with respect to the Mexican criminal justice system,” with “detail” about the nature and

participants “including . . . any agreement with respect to the conduct (including, for example, any

payment, arrangement, or quid pro quo).” Dkt. 173-16 at 7.

       On November 14, 2023, AIC filed its opposition to SF’s motion (Dkt. 188). AIC’s

opposition explained that, inter alia, AIC need not further respond to Interrogatory 11 until the

completion of fact discovery. See, e.g., Dkt. 188 at 3, 6, 14. On November 21, 2023, SF filed its

reply in support of its motion to compel (Dkt. 196). In its reply, SF argues that “waiting for further

discovery would not make the answer [to Interrogatory No. 11] substantially more complete.” Dkt.

196 at 4–5.

       At approximately 10:46 p.m. on November 14, 2023—mere hours after AIC filed its

opposition (and 40 days after the substantial completion deadline)—SF produced its engagement

letter with its Mexican criminal counsel. This document is highly material to AIC’s opposition to

SF’s motion, including by further demonstrating that AIC’s allegations are meritorious, and that

additional evidence necessary to respond to Interrogatory 11 is in SF’s sole possession.

       AIC respectfully requests the Court’s leave to file the attached surreply, in order to furnish

the Court with a copy of relevant material that SF did not produce until after AIC had already

responded to SF’s motion to compel, and to briefly explain its relevance to the pending motion.

AIC’s proposed surreply is limited to these narrow points, which it could not have advanced earlier

due to the timing of SF’s production.




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                                       CONCLUSION

       For the foregoing reasons, AIC respectfully requests leave to file the proposed surreply

attached hereto as Exhibit A.




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Dated: November 30, 2023            Respectfully submitted,


                                    /s/ Andrew J. Rossman
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                           LOCAL RULE 7.1 CERTIFICATION
      I certify pursuant to Local Rule 7.1, that counsel to Defendant and Counterclaim-Plaintiff
Advent International Corporation conferred with counsel for Plaintiff and Counterclaim-
Defendant Servicios Funerarios GG, S.A. de C.V. concerning the issues presented in this Motion
on November 29, 2023.

                                            /s/ Andrew J. Rossman




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this November 30, 2023, I caused to be served a copy of the
foregoing document via the CM/ECF system on all counsel of record.

                                         /s/ Andrew J. Rossman




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